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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

                                          )
  In re Subpoena to                       )     19-mc-287
                                          )
  GoDaddy.com LLC and                     )
  Domains By Proxy LLC                    )

                 DECLARATION PURSUANT TO 17 U.S.C. 512(h)

        KERRY S. CULPEPPER, hereby declares under penalty of law that the

  following is true and correct:

        1.     I am an attorney licensed to practice law in Hawai’i and represent HB

  Productions, Inc. the owner of the copyright in the motion picture Hellboy.

        2.     This declaration is made in support of the accompanying subpoena,

  pursuant to 17 USC 512(h)(2)(C).

        3.     The purpose of the accompanying Subpoena is to obtain the identity of

  the alleged copyright infringer(s), namely the individuals who are promoting and/or

  distributing the movie streaming applications MediaBox HD and CotoMovies for

  the purpose of infringing copyright protected content. The information obtained will



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  be used only for the purpose of protecting the rights granted to the copyright

  owner(s).

        I declare under penalty of perjury that the foregoing is true and correct.


        DATED: Kailua-Kona, Hawaii, August 1, 2019.

                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Owner/Requestor




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